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EXHIBIT E
Case 2:14-cv-11916-GCS-SDD ECF No. 76-6, PagelD.2463 Filed 03/24/16

Watajie K. Reeser

Lab Assistant

Henry Ford Medical Laboratories
Outreach Lab Service

Clinton Township, MI

January 20, 2014
Jil] Hood
Sr. Business Partner
Human Resources
Henry Ford Hospital

Dear Ms. Hood,

Thank you for the opportunity to meet with you today. | am interested in Human Resources intervention
with three areas of concern. Two areas are related to my 2013 Employee Performance and Development
markers, and one area is related to meal breaks. Through this meeting, | am seeking the assistance of
Human Resources to investigate my concerns, and offer guldance and solutions to all parties in a
positive and productive manner.

2013 Employee Performance and Development Concerns (please see attachments}

| believe my supervisor, Fiona Bork, was not impartial when she assigned ‘2.0 Some Success’ markers to
two performance categories on my annual review, | have been responsible for the Clinton Township
Outreach Lab since my start date, and there has been no verbal meeting, written documentation or
probationary period in these areas to suppert such unacceptable markers. As my supervisor knows,
these markers prohibit transfer to a different position within Henry Ford Medical Laboratories, and
worse, are cause for termination. Therefore, 1am submitting documentation to demonstrate that these
markers were assigned without any professional basis and, In at least one area, was assigned for
personal reasons.

Meal Breaks

Employees assigned to the Clinton Tawnship Outreach Lab, who are working aione, are required to stay
on-site the entire work day as coverage for patients that may require blood draws at any time
throughout each day. Employee schedules include additional time for a meal break (ry schedule
currently includes 30 minutes for lunch, and formerly Included 60 minutes for about my first 18 months
of employment); however, an actual lunch time is not provided. | was told that any “down time” was to
be considered as lunch. However, | recently learned that The Falr Labor Standards Act (FLSA} states that
hourly employees, who are required to work more than 40 hours in a work week, are to be
compensated for those hours under a term called, “engaged to work.” In order for an employee to not
be “engaged to work,” an employee must be completely relieved from duty for the purpose of eating
regular meals,

Please know IE is increasingly difficult to work busy days without any opportunity for a meal break and,
some days even more difficult, because management and sales personnel bring in food for lunch, take
meal breaks, and eat in front of/near me. I have been told by my supervisor that if | want a lunch break
outside of the office, { will “lose” the opportunity to work in Clinton Twp. Please know [ do not want to
be reassigned from Clinton Twp. to another site. | have been successful in helping to grow our patient
base, i personally know and respect each of our returning patients, and | look forward to working for
them during each visit. Therefore, as defined by FLSA, | am asking Human Resources to intercede, and
allow employees working alone at Clinton Twp. {and any other site working with simllar constraints), a
scheduled/advertised 30-minute closure of the lab each day for a meal break during the time that is
already allotted for this purpose on individual work schedules.

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Natalie K. Reeser fanuary 20, 2014
Page 1] of |i

In closing, this past week has been unnecessarily stressful for me. Since rejecting my annual evaluatian
and requesting this appointment with Human Resources, | have been subjected by my supervisor to
abnormal bouts of loud humming and some laughter; needless paper shredding at my desk; repeated
pacing by my desk while verbally stating in an accusing tone, “You know what? Okay, Okay. You know
what? Okay, Okay, ete,, followed by returns to her office and the shutting of her office door. She also
yelled at me and told me to change my screen saver, which represented strength for my older brother
who has recently battled leukemla (both she and cur operations manager have viewed this screen for
months, and no one has ever mentioned it in the past}; and she Intentionally embarrassed both me and
a patient walting to be drawn,

Also, based on e-mails | received Jast week, | believe my supervisor also altered or deleted goals that
were part of the original annual evaluation | recelved, which truly concerns me. In addition, | believe
there was an attempt to cance] my 12:30 p.m. appointment with you last Friday, through the scheduling
of a fast minute team conference call for EPIC, at the same exact Hime. There was also a change made at
some point to my work schedule for Friday, requiring me to work overtime that afternoon at the Shelby
Twp. lab —I only work half days on Fridays In Clinton Twp. In trying to work out all of the last minute
demands for my time that day, f inadvertently learned that the work replacement/employee | found to
cover Friday afternoon at Shelby Twp., who had been approved by our.supervisor to work this shift, was
never notified by our supervisor that she was approved to work this shift. | can support that supervisor
notification is the procedure we follow thraugh past e-mails of same situations.

Therefore, | would like to trust in, and thank Human Resources for remalning unbiased Jn its
investigation, while working with all partles to establish acceptable solutions, based solely on facts, and
not emotions. | would like to see our team stabilized again, 50 we can: move forward this year, and
continué to successfully grow our Clinton Township Outreach Patient Service Center.

Sincerely,

Natalle K. Reeser

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Natalle X, Reeser Request for Human Resources Intervention
Employee Ne: 090084 January 20, 2014, Page I of }I

Evaluation Category: Display a Positive Attitude/Respond In a Timely Manner ~ Marker 2.0

Supervisar Comments: Natalle fs fully accountable for every choice she makes and never seeks to avoid
or shift responsibility te someone else. ! can trust that she will act decisively, follow through on her
commitments, and quickly correct any problems. *Netalie was sent for additional phlebotomy training
due to numerous complaints of bruising and pain, She learned a lot from her day of treining including
how to finish a lab draw, as weil as the proper pressure to use after a venipuncture.

Employee Response: *To my knowledge, out of the 3,206 blood draws at the Clinton Township Jab in
2013, only two patients stated in early February that they received hematomas and, since | had not
received any complaints prior to this date, the hematomas were most likely related to the type of
bandage used on the patients. Up untit the time of these complaints, CoFlex, the industry standard
bandage for all phlebotomy patients, was stocked in our lab for use on patients. CoFlex is made out of a
material that does not hamper circulation or movement, is designed to prevent hematomas and leakage
at the draw site, can be torn using one hand, while the other hand continues to hold pressure on a draw
site, and is safe to use on all skin types. :

On Jan. 31, 2013, our operations inanager sent an e-mail stating CoFlex was belng replaced by a non-
adhesive (tan surgical} paper tape for non-Caumadin patients. Even though paper tape does not have
adhesive, which fs required to hold'pressure on draw sites to prevent hematomas, as directed, |
followed the new guidelines. An Important fact is that, ance patients leave the lab, phlebotomists have
no control over pressure; patients depend on the hespital to provide the labs with the proper materials
to control pressure on the draw sites. Non-adhesive paper tape Is not Intended to serve this purpose,
and exiting patients have no extended pressure on the draw site which, again, controls the potential for
hematomas.

I first learned of these patients on Feb, 24, 2013, when my supervisor called me and stated two patients
had complained about hematomas and asked me if 1 was doing anything differently. | replied that the
one step I was doing differently now, was using the required (tan surgical) paper tape instead of CoFiex,
as directed by the operations manager. My supervisor then sent me an e-mail on Feb, 20 stating,
because of the two compialnts, she was sending me to Cottage Hospital on Mon., Feb, 25 for specialized
training under Sherri Dedeyne.

| arrived before my 8 a.m. start time, and was met by another employee, as Ms, Dedeyne was not
working in this lab on this date. This other employee observed my drawlng techniques on a patient. Her
reaction was that she thought their lab was being sent a beginning phiebotomist who needing training,
not an experlence phlebotomist adding, again, she wasn’t sure why a skilled phlebotomist had been sent
for training,

On that same date, Cottage Hospital was sponsoring a Coumadin Clinic, and the lab was extremely busy
and short-staffed. Therefore this employee asked me to work in the clinic for the remainder of the day,
not as a trainee, but as a skilled phlebotomist. At the end of the day, | was sincerely thanked for my
work effarts on such an extremely busy day.

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Natalle X. Reeser Request fer Human Resources Interventlon
Employee No: 030084 January 20, 2014, Page II of ft

Evaluation Category: Display a Positive Attitude/Respond in a Tlmely Manner ~ Marker 2.0 - Continued

When | returned to work on Tuesday, my supervisor asked me what | had learned. Not knowing what to
say {as { had not trained, but worked ail day), | mentioned that the employee | worked with
demonstrated an ‘alternate’ way to wrap CoFlex, In keeping with this, my supervisor's statement on my
evaluation, “She fearned a lot from her day of training including how to finish a lab draw, as well as the
proper pressure to use after a venipuncture,” is misleading {garnered from something | casually shared)
and not based on any fact — | was not “trained” on anything that day. Ff 1 did not know how to finish a lab
draw or apply pressure to a draw site, 1 would not have been able to successfully draw from our
patients, help to grow a solid repeat patient base, or would | have been left alone to manage an off-site
phlebotomy lab for nearly two years prior to this event.

In addition, in the weeks following Cottage Hospital, each time | asked my supervisor for a copy of any
feedback she received from Ms. Dedeyne's employes, my supervisor refused, Her refusal indicated to
me that the employee at the lab was pleased with my work. | believe, based on my supervisor's
management style, had any feedback been negative, she would have been shared such comments with
me.

On May 1, 2013, three months after we began using the non-adhesive paper tape, our operations
manager released an e-mail stating, “URGENT ACTIGN REQUIRED, Please remove the tan surgical paper
tape that was distributed to many of our locations from use IMMEDIATELY. If It has not yet been done,
this will be replaced with the PROPER white adhesive paper tape used in phlebotomy.”

If there have been any other complaints about hematomas and/or paln, my supervisor has never
brought them to my attention. As my supervisor stated, “Natalie is fully accountable for every choice she
makes and never seeks to avoid or shift respansibility to someone else. | can trust that she will act
decisively, follow through on her commitments, and quickly correct any problems.” Therefore, as my
supervisor used the word “numerous complaints,” and since it is unlike my supervisor to refrain from
sharing negative information, and because | recelved an unacceptable marker based on the words
“numerous complaints,” in order to not shift responsibility to someone else, | am asking to review
coples of the written/slgned complaints from these patients. In addition, if “numerous” written/signed
complaints are provided to Human Resources, | am also asking that a representative in Human
Resources reach out to these patients and validate such complaints, before the 2.0 marker |] received in
this category is permanently assigned to my evaluation,

in closing, can i also please ask how my supervisor's response even relates to a category entitled,

“Display a Positive Attitude/Respond in a'‘Timely Manner?”
— Thank you,

HFH130
